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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE


In re:                                                         Chapter 7

ART VAN FURNITURE, LLC., et al.,1                              Case No. 20-10553 (CSS)

                                     Debtors.                  Jointly Administered


TODD STEWART and JENNIFER SAWLE on                             Adv. Pro. No. 20-50548 (CSS)
behalf of themselves and all others similarly
situated,

                                     Plaintiff,
v.

ART VAN FURNITURE, LLC, et al.,

                                     Defendants.


                                      PRETRIAL SCHEDULING ORDER


          Todd Stewart and Jennifer Sawle (the “Plaintiffs”), together with Alfred T. Giuliano, the

 Chapter 7 Trustee for Debtors (the “Trustee”) (collectively “the Parties”), by and through their

 counsel, hereby submit this Pretrial Scheduling Order, and, in support thereof, aver the following:

          1.       On March 8, 2020, the Debtors each filed a Voluntary Petition for Relief under

 Chapter 11 of the Bankruptcy Code. (Bankr. No. 20-10553, D.I. 2).

          2.       On March 10, 2020, the Debtors’ cases were consolidated for joint administration.

 (Bankr. No. 20-10553, D.I. 71).


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   The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number, include:
 Art Van Furniture, LLC (9205); AVF Holding Company, Inc. (0291); AVCE, LLC (2509); AVF Holdings I, LLC
 (2537); AVF Holdings II, LLC (7472); AVF Parent, LLC (3451); Levin Parent, LLC (8052); Art Van Furniture of
 Canada, LLC (9491); AV Pure Sleep Franchising, LLC (8968); AVF Franchising, LLC (6325); LF Trucking, Inc.
 (1484); Sam Levin, Inc. (5198); and Comfort Mattress LLC (4463) (collectively, the “Debtors”).



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        3.       On March 23, 2020, Plaintiffs commenced an adversary proceeding against the

above-captioned debtor-defendants (“Defendants”), which adversary proceeding is docketed as

No. 20-50548 (CSS) (the “Adversary Proceeding”) (Adv. D.I. 1).

        4.       The Complaint alleges that the Defendants violated the Federal Worker

Adjustment and Retraining Notification Act, 29 U.S.C. § 2101, et seq. (the “WARN Act”) and

seeks relief on behalf of a putative class of present or former employees of the Defendants (the

“Complaint”).

        5.       On April 7, 2020, the bankruptcy case was converted to Chapter 7 and the Trustee

was appointed. (Bankr. No. 20-10553, D.I. 263, 264).

        6.       Between March and December, the Parties agreed to extend the deadline for

Defendants to respond to the Complaint and utilized the extensions to work cooperatively and

diligently in exchanging information relevant to the WARN claim.

        7.       On December 10, 2020, the Debtors filed an Answer to the Complaint. (Adv. D.I.

25).

        8.       On April 28, 2021, Plaintiffs served Plaintiffs’ First Set of Interrogatories and

Plaintiffs’ First Request for Production of Documents on Defendants (collectively, the

“Plaintiffs’ Discovery Requests”).

        9.       On May 26, 2021, the Court entered an Order Assigning Adversary Proceeding to

Mediation setting July 26, 2021, as the deadline for submission of a Mediation Report. (Adv.

D.I. 26).

        10.      The Parties have conferred and agreed, subject to Court approval, to stay litigation

and proceed to mediation with the exchange of limited informal discovery prior to mediation so

long as it is without prejudice to the Trustee’s right to move for summary judgment and



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Plaintiffs’ right to oppose summary judgment as premature absent full discovery, should the

Parties not reach a mediated settlement.

        To promote the efficient and expeditious disposition of adversary proceedings, the

following schedule shall apply to the above-captioned adversary proceeding.

IT IS HEREBY ORDERED that:

        11.      The Parties shall exchange informal discovery requests by June 21, 2021.

        12.      The Parties have conferred and agree to Ret. Judge Kevin Gross as Mediator (the

“Mediator”).

        13.      Subject to the Mediator’s schedule, the Parties shall complete mediation by

August 31, 2021.

        14.      All formal discovery and litigation shall be stayed during the mediation process,

including without limitation, the Trustee’s obligation to respond to the Plaintiffs’ Discovery

Requests.

        15.      If the Parties are unable to reach a consensual resolution of the Adversary

Proceeding the following deadlines shall apply:

        16.      Unless otherwise agreed to by the parties or ordered by the Court, Plaintiffs and

the Trustee shall exchange their Initial Disclosures as detailed in Bankruptcy Rule 7026(a)(1)

within fourteen (14) days of the filing of the Mediator’s Report stating a settlement has not been

reached (“Mediator’s Report”).

        17.      Unless otherwise agreed to by the parties or ordered by the Court, all amended

pleadings shall be filed within fourteen (14) days of the filing of the Mediator’s Report.

        18.      The Trustee may file and serve a motion for summary judgment (the “Trustee

Summary Judgment Motion”), if any, within thirty (30) days of the filing of the Mediator’s



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Report. To the extent the Trustee Summary Judgment Motion is filed, and unless the Court

orders otherwise, supporting memoranda shall be filed with the Trustee Summary Judgment

Motion at the time of its initial presentation. With respect to the Trustee Summary Judgment

Motion, a responding memorandum shall be filed within 21 days following the filing of the

Trustee Summary Judgment Motion, and a reply memorandum, if any, shall be filed 14 days

thereafter.

        19.       Unless otherwise ordered by the Court, the length of all memoranda and briefs

filed in connection with any substantive motion (whether the Trustee Summary Judgment

Motion, Class Certification Motion (as defined below) or otherwise) shall be governed by Rule

7007-2 of the Local Rules of the United States Bankruptcy Court for the District of Delaware.

        20.      Plaintiffs reserve the right to oppose the Trustee Summary Judgment Motion on

all grounds including, that the Trustee Motion is premature and should be filed, if at all, at the

conclusion of fact discovery.

        21.      Plaintiffs shall file a Motion for Class Certification (the “Class Certification

Motion”), if any, no later than thirty (30) days from the filing of the Mediator’s Report. Unless

otherwise ordered by the Court, a responding memorandum shall be filed within 21 days

following the filing of the Class Certification Motion, if any, and a reply memorandum, if any,

shall be filed 14 days thereafter.

        22.      Unless otherwise agreed by the parties and approved by the Court, to the extent

applicable, all fact discovery, shall be completed and closed within one-hundred and eighty (180)

days from the filing of the Mediator’s Report. Unless otherwise agreed by the parties or Order by

Court, all discovery of electronic documents shall proceed in accordance with Local Rule 7026-

3.



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        23.      To the extent applicable, the parties shall exchange expert reports regarding any

issue on which he, she, it or they bear the burden of proof within two-hundred and forty (240)

days of the filing of the Mediator’s Report, and the other party shall have thirty (30) days

thereafter to file a rebuttal report. Depositions of experts shall be completed within thirty (30)

days from the date of submission of the last rebuttal report (“Final Expert Report Submission

Date”), after which time all expert discovery shall be completed and closed.

        24.      To the extent applicable, the parties may file dispositive motions within thirty

(30) days after the Final Expert Report Submission Date. To the extent any dispositive motions

are filed, and unless the Court orders otherwise, supporting memoranda shall be filed with any

dispositive motion at the time of its initial presentation, responding memoranda shall be filed

within 21 days following the filing of a dispositive motion, and reply memoranda, if any, shall be

filed 14 days thereafter.

        25.      The parties shall comply with the General Order Governing Pre-Trial Procedures

in Adversary Proceedings Set for Trial before Judge Christopher S. Sontchi as may be amended

or restated from time to time. The parties shall file, no later than three (3) business days prior to

the earlier of the date set for (i) pre -trial conference (if one is scheduled) or (ii) trial, their Joint

Pre-Trial Memorandum approved by all counsel and shall contemporaneously deliver two (2)

copies thereof to Judge Christopher S. Sontchi’s chambers.

        26.      The above dates may be modified by consent of the parties without need for

further order of this Court or by Order of this Court.

        27.       The parties will contact the Bankruptcy Court for a date for a status conference,

which status conference shall be for the purpose of (i) setting a date by which pre-trial

disclosures under Bankruptcy Rule 7026(a)(3) shall be served, (ii) scheduling a pre-trial



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conference to schedule a date and time of trial, and (iii) addressing such other issues as the

Bankruptcy Court or the parties deem necessary and appropriate.

        28.      The Plaintiffs shall serve this Pretrial Scheduling Order on the Trustee’s counsel

within 5 business days after the entry of this Pretrial Scheduling Order.




         Dated: June 10th, 2021                       CHRISTOPHER S. SONTCHI
         Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE


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